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                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                       FORT MYERS DIVISION

In re:
                                                              Chapter 7
Miguel Robirosa                                               Case No. 9:17-bk-06139-FMD


       Debtor(s)
_____________________________________/


                          AMENDED REPORT OF UNCLAIMED FUNDS1

           Luis E. Rivera, II, as Trustee, states that, pursuant to the orders of distribution, he has disbursed
the entire amount in the Trustee’s account and all checks have cleared with the exception of the
following:



  Claim No                                 Name of Creditor                                    Amount

         4-1      Dilks & Knopik, LLC                                                         $2594.44
                  Miguel Robirosa                                                            $15,263.23
                  TOTAL:                                                                     $17,857.67

More than ninety (90) days have elapsed since the declaration and distribution of the final dividend. In
accordance with 11 U.S.C § 347 and Fed. R. Bankr. P. 3011, the Trustee previously paid to the Clerk the
sum of $17,799.00 for deposit in the “unclaimed funds account. The Trustee will provide an check made
payable to the U.S. Bankruptcy Court in the amount of $58.67 to the clerk of court for deposit in the
“unclaimed funds account,” and states that the claimants entitled to the total funds are as listed above.

           I HEREBY CERTIFY that on September 12, 2019, I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system. I further certify that the foregoing was provided
electronically or by U.S. Mail to the United States Trustee, 501 East Polk St., Suite 1200, Tampa, FL
33602.



                                                /s/ Luis E. Rivera II
                                                Luis E. Rivera II, Trustee
                                                Post Office Box 1026
                                                Fort Myers, Florida 33902
                                                239.254.8466
                                                trustee.rivera@gray-robinson.com


1
         This Report amended the Report of Unclaimed Funds (Doc. 53) filed November 28, 2018 to reflect the
deposit of an additional $58.67 due to Miguel Robirosa.
